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                                                                     FILED
                                                                       AUG 1 0 2015
                                                                    Clerk, U.S. District Court
                                                                      District Of Montana
                                                                            Missoula


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

UNITED STATES OF AMERICA,                           CR-15-22-BU:DLC

                        Plaintiff,                  FINDINGS AND
                                                  RECOMMENDATION
        vs.                                       CONCERNING PLEA

ROBERT ELLIS NORRIS, aka Chris,
aka Bob,

                        Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to commit wire

fraud in violation of 18 U.S.C. § 371(Count1), and two counts of aggravated

identity theft and aiding and abetting in violation of 18 U.S.C. § 1028A(a)(l) and

18 U.S.C. § 2 (Counts 24 and 25), as set forth in the Indictment. In exchange for

Defendant's plea, the United States has agreed to dismiss Counts 2-23, and 26 and

27 of the Indictment.

      After examining the Defendant under oath, I have made the following


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determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the chargesagainst him and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements i~ the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts 1,

24, and 25 of the Indictment, and that sentence be imposed. I further recommend

that Counts 2-23, and 26 and 27 of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision rei=ardini= acceptance until the Court has reviewed the Plea

Ai:reement and the presentence report.

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        DATED this 10th day of


                                   e iah C. Lynch
                                   ted States Magistrate Judge




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